UNITED STATES DISTRICI` COURT

 

DISTRICT OF MINNESOTA
Retail Investment II, LLC, Civil File No. 0:05-cv-572 (MJD/JGL)
Plaintiff,
CERTIFICATE OF SERVICE
v.

McRae's, lnc., dib/a Herberger‘s,
Defendant.

STATE OF MINNESOTA)
) ss.
COUNTY OF BROWN )
Heather Haa]a, being first duly sworn says that on this 11"1 day of November, 2005, she
deposited true and correct copies of the foregoing Plaintiff’s Rule 26(a)(l) Suppiementai
Disclosures in the mail of the United States, at New Ulm, Minnesota, and that the copies,

enveloped and stamped with the required amount of postage, were addressed to the following:

Steven K. Champlin #0016044
Dorsey & Whitney

Suite 1500, 50 South Sixth St:reet
Minneapolis, MN 55402-1498

MAMKA Aéf),é/L/

Heather Haala

Subscribed and sworn to before me
this 11'1' day of November, 2005.

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